                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              SOUTHERN DIVISION


UNITED STATES OF AMERICA,                           )
                                                    )
                          Plaintiff,                )
                                                    )
       vs.                                          )      No. 17-03009-01-CR-S-BP
                                                    )
KENNETH GARNER,                                     )
                                                    )
                          Defendant.                )


                       ACCEPTANCE OF PLEA OF GUILTY AND
                            ADJUDICATION OF GUILT


       Pursuant to the Report and Recommendation of the United States Magistrate Judge, to

which there has been no timely objection, the plea of guilty to Counts One and Three and admitted

to Forfeiture Allegation One contained in the Superseding Indictment filed on May 11, 2017, is

now Accepted and the Defendant is Adjudged Guilty of such offense. Sentencing will be set by

subsequent Order of the Court.



                                                             /s/ Beth Phillips
                                                            BETH PHILLIPS
                                                    UNITED STATES DISTRICT JUDGE




Date: September 25, 2020




             Case 6:17-cr-03009-BP Document 78 Filed 09/25/20 Page 1 of 1
